UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
                                          Plaintiff,


                                                                 Case No.: 2:97-cr-00098-10


DAVID A. KADLEC,
                                          Defendant.


               MOTION TO WITHDRAW AS COUNSEL FOR DAVID A. KADLEC

          ALEXANDER E. BASINSKI, ESQ., being an attorney admitted to practice law in this

District, and subject to the penalties of perjury, does hereby declare the following to be true and

correct:

          1.        I represent the defendant, DAVID A. KADLEC (“Mr. Kadlec” or “Defendant”).

          2.        On June 21, 2021, I filed a notice of attorney appearance on behalf of Mr. Kadlec

for the purposes of filing a Motion for Compassionate Release. (See Dkt. No. 2253.)

          3.        Since that time, Mr. Kadlec has indicated to counsel that due to financial

considerations, he wishes to proceed by filing a Motion for Compassionate Release pro se and

without the assistance of counsel.

          4.        As a result, I respectfully ask that this Court permit me to withdraw as counsel so

that Mr. Kadlec may proceed pro se.

          WHEREFORE, I respectfully ask that this Court grant counsel’s request to withdraw and

for any such other and further relief as to this Court seems just and proper.




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DATED:              Buffalo, New York
                    December 8, 2021

Respectfully submitted,


                                        /s/Alexander E. Basinski
                                        ___________________________
                                        ALEXANDER E. BASINSKI, ESQ.
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                                        Attorney for Defendant
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TO:       CAROL L. KRAFT, ESQ.
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